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                                                      CtinRtcut uM Vrr,q.n
                                             Dr.q.NA, S. Got osrEIN, PH.D.,ABPP



PERSoNALINFoRMATToN                                                                              s
                                                                                         F{f         EF
  WoRK AooRess:                      Isaac Ray Forensic GrouP, LLC
                                     65 E. Wacker Place, Suite 2240
                                                                                            MAR 2    4   2014
                                     Chicago, iL. 60601
  Trtr:                              President and CEO                                   3*24-            I
                                     Director of NeuroP sYchologY
                                     Director of Public SafetY
  PHONE:                             312.621.9002, x102
  FACSIMILE:                         312.621.9003
  E-tvratL:
  LICENSURE:
                                     dgoldstein@irfg.org
                                     Illinois #071006006 (2000)                           /^ qL  s72 :
                                     Indiana #20041441A& FISPP (1999)
                                     cPQ #4123 (2008)
                                                                                       ,rSA  L/ ?MT
  DIPLOMATE:                         Board Certification in Clinical Neuropsychology, ABPP #6312 (2007)


EoucarroNlr, ExPeRt oNcn
  1    998-2000       University of Chicago Medical Center, Deparlment of Psychiatry and Behavioral Neuroscietice
                      Post Doctoral Fellowship in Clinical Neuropsychology
                      Required Coursework: Medical Neuroanatomy, Pritzker School of Medicine

  t997 -1998          Yale West Haven Veterans Affairs Medical center (APAApproved)
                      Intemship in Clinical Psychology, specialization in Clinical Neuropsychology

  1    991-1998       University of Health Sciences/The Chicago Medical School (APA Approved)
                      Doctor of Philosophy, and Master of Science in Clinical Psychology
                      Dissertation Title: Frontal Lobe Ftutctiottittg in Psychopaths
                      I\4aster's Thesis Title: Predicting Emploltment itt Trawnatic Brain h1im"y

   1      986-1 990   University of Wisconsin, Madison
                      Bachelor of Arts, Psychology and French Literature Honors

   1      989         University of Paris, Sorbonne
                      Dipl6me in French Literature and Civilization


ACADEMIC APPOINTMENTS

   2007-201.3         UNIvTRSITY OF CHICAGO, PzuTZKER SCHOOL OF MEDICINE
                      Adjunct Eactrltv, Department of Psychiatry and Behavioral Neuroscience

   2000-2005          RosaI-INO FRANKLIN UNIVERSITY OF MEDICINE & SCIENCE
                      (Formerlyuniversity of Health Sciences/The chicago Medical School)
                      L e cttLr er, Department of Psychiatry


   2000-2001          RusH PN.ESEYTERIAN-ST. LUKE,S MEDICAL CENTER
                      In s tru ct   or, Deparlment of Psychiatry

          998-2000    UNIVERSITY OF CHiCAGO, PRITZKER SCHOOI- OF \4EDICINE
                                                                                                              EO\'ffiHT
      1
                                                                                                               EnlHT
                      Lecturer, Department of Psychiatry and Behavioral Neuroscience                             2
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                                                                                                          Puge 2


CLINICAL EXPERIENCE

  2011.PrESENI UNITED STETPS POSTAL SERVICT, OPTICE OF THE INSPECTOR GENPN'qL
  2OO5-Present UNITED STATES POSTAL INSPECTION STNVICT
  2OO1-Present ILL]NOIS ATTORNEY GENERAL,S OFFICE, VICTIVS PNOCNAV
               C o n trac t irt g C l inical P sv cho I o gist
               providing indiyidual psychotherapy to Special Agents and Postal Inspectors investigating
               internal and external crimes against the United States Postal Service and Chicago citizens
               victimized within the communitY.
               (Typical case referrals include trauma associated with job-related shootings or being the
               victim ofa violent or sexual assault; anxiety and depression).

  2005-Present    MICHIGAN AVENUE NEU ROPSYCHOLOGISTS
                  President and CEO
                  D irector of Netu' o1t sy c hol o gy
                  Responsibilities and activities include neuropsychological and psychological outpatient
                  evaluation and treatment of individuals with psychiatric disorders and diverse central nervous
                  system conditions, as well as consultation to other treating professionals.

  2004-Present    CONTzuA.CT HOLDER, LIE SRTY HEALTHCARE CORPORATION
                  SExUALLY VIOLENT PERSONS CONOIIONEL RELEASE PROGRAM
                  Clinical Psychologist and Collaborator
                  Administration and interpretation of annual/discharge penile plethysmography examinations
                  for all male sex offenders civilly committed under the SVP Commitment Acl (725ILCS 207)
                  and subsequently discharged into Illinois communities through the conditional release
                  program. Other activities include case consultation with other clinicians as part of an overall
                  offender management/monitoring team.

  2002-Present    ISAAC RAY FORENSIC GROUP,                  LLC
                  President and CEO
                  D ire ctor of N europ sychol o gY
                  Director of Public Sa/bty
                  Responsibilities and activities include forensic neuropsychological and psychological
                  evaluation and consultation in criminal and civil cases, dangerousness/ risk assessments,
                  impaired professional/fitness for duty/disability evaluations, pre-employment psychological
                  screening evaluations. Other responsibilities include training law enforcement personnel in
                  psychological and neuropsychological disorders, training doctoral level clinical psychology
                  itudents in forensic evaluation and team teaching a landmark case series (mental health &
                  disability law course) with S. Jan Brakel, J'D., DePaul law professor.

   2011           NFL PROCRAM FOR SUSSTANCTS OF ABUSE
                  Evaluating Clinician, Midwest Regiott
                  Responsibilities and activities include diagnostic evaluation of and treatment plaming for
                  National Football League players in vioiation of league policy for use of alcohol and other
                  substances, as well as team consultation with other evaluating and treating professionals.

   2007           AovISORY      CON4N4ITTEE,          BTI MONARCH
                  Invited Mentber
                  Collaboration u,ith clinical psychologists from multiple U.S. sites using penile
                  plethysmography in their work with sex offenders in order to effectuate a critical update in
                  stimulus evaluation materials of the MonarchrM system.

   2000-2005      Pruv,q]T PRACTICE
                  C o gritive-B elt at,i or al   Th   erapi s t
       Case: 1:12-cr-00872 Document #: 112 Filed: 03/24/14 Page 3 of 14 PageID #:529
                                                                                                                                   Page 3

                                                                                        and personality
               Individual psychotherapy with individuals suffering depressive, anxiety
               disorders, and those adjusting to and coping with neuroiogic injuries and
                                                                                         conditions'


2A00-2002      ISAAC RAY CENTER, INC.
                      r of Netu"op sY chol o gY
               D ire c to
                                                                                                    r'vorking
               Director of ail neuropsychological serr,'ices' including management of psychologists
                                                                                                        and
               within the service. Responsibilities included outpatient neuropsychological evaluation,
               forensic neuropsychological evaluation largely with criminal defendants.
                                                                                          Program (grant
               Treatment of trauma viclims through the Violent Crime Victim Assistance
               funding from the Illinois Attomey General's Office)'

2000-2002      CAVANAUGH & ASSOCIATES
               Cl inical P sy cho I o gY As s o ciate
               psychological andneuropsychological assessment of individuals involved in civil litigation'

1998-2001      THE NTUNOBEHAVIOR AND REHABILITATION NETWONT
               Clinic al N europ sy chol o gis t
               Neuropsychological assissment of individuals referred to a private practice setting,
                                                                                                     including
               those involved in civil and criminal litigation; collaboration with attomeys and mitigation
                                                                                                    reviews'
               specialists, and on-site prison or jail testing were common. Report writing, record
               lndividual psychotherapy is additionally part of this practice'

1   998-2000   UNryTRSITY OF CHICAGO MPOICEL CENTER, NEUROPSYCHOLOCY STNVICE
               Post Doctoral Fellow and Lecturer in Clinical New"opsycltologl'
               Neuropsychological assessment of inpatient and outpatient adults with diverse central
                                                                                                        ner\/olls
               system conditions, report writing, case presentations, teaching of interns and externs, clinicai
                                                                                                Psychiatry,
               rotations through Neurology, Neurosurgery, Neuroradiology. Consultation/Liaisori
               Rehabilitation Psychology Services.

t997 -1998      YAIE WrSr HEVEN VETEruCNS ANTEIRS MPOICRL CENTTR, NEUROPSYCHOLOCY SERVICE
                C I i ni c al P sy c h o I o g'; I n tern' N ew" op gt clt o I o gv' Sp e c i al i z ati o
                                                                                                           tt
                Neuropsycitological              assessrnent    of inpatient/outpatient              adults   with diverse central nen/ous
                                                                                                                         patients with
                system ctnditions, including Persian Gulf War Syndrome. Treatment of
                posttraumatic stress and mood disorders.

1994-t995       UNIVERSITY OF CHICAGO MTOTCEI CENTER, NEUROPSYCHOLOGY SPRVICS
                New"op sycholo g,t Extern
                Neuropsychological assessmenl of inpatient and outpatient adults, report writing, case
                presentations.

                                                                                              SCHOOL
 1993-1994      ANxgrY       DISORDERS CLINIC, UNIVTNSITY oF HEALTH SCIENCES/CHICAGO MEOICEI-
                Student Cogtitive-Behavioral Therapist
                Cognitive-Behavioral outpatient individual treatment for anxiety, mood, personality disorders.

 r992-t993      SCHWAE RSHEEILITETION CENTER
                       sy cho lo gy Extent
                N eur"op
                Neuropsychological asses srnent of TBI inpatient and outpatient adults, report writing,
                coieadership of a TBI employment support group.

                                                                             PSYCHTETRY UNIT
    t992        VETERANS AoUINISTRATION MEDICAL CENTER, NORTH CHICAGO, AOUIT
                Extent
                Diagnostic intake interviews, mental status examinations, repoft u'riting for an inpatient
                psychiatric unit.
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                                                                                                           Page 4


  1991-1992        VETER{NS AOI/IINISTRATION MEDICAL CENTER, NONTH CHICAGO, ALCOHOL
                   RTHEEILITETION UNIT
                   Extent
                   lndividual therapy with inpatient adult substance abusers, many dually diagnosed with
                   posttraumatic stress disorder, parlicipatior-L in group therapy, case presentations.


Rel.rreo PRonEsstoNnl aNo CLtxlcRt ExprrurNcp
  1997-1998        DTPAR.TIATNT OF CHILDREN AND FE.UII-Y SERVICES,IILiNOIS
                   Mentor
                   Parenting skills training and provision of mentor relationship to mothers whose children were
                   removed from the home, currently under custodial consideration by the court. AsseSment of
                   remaining children in the home, attendance of case meetings and court, communicatlon with
                   social services, report writing.

  1996-1997        HTNRY LAHMEYER AND ASSOCIATES
                         o metr i c i an/Re c o r d Revi ev, er
                   P sy ch
                   Neuropsychologieal assessment of individuals involved in civil and criminal litigation, record
                   review and organization ofcases in preparation for court'

   1995-1991       ANXIETY AND AGORAPHOBIA TREATVENT CENTER
                   C o gtitiv e- B e lt at, i o r al Tlt er ap i s t
                   lndividual treatment. Primary populations included Obsessive Compulsive, Panic and
                   Posttraumatic Stress Disorders.

   1994-1996       ALExIAN BROTHERS-LETP COOT PSYCHOLOGISTS AND COUISTIING ASSOCIATES
                   C o gitiv e- B eh avi o r al Tlt er ap i s t
                   lndividual and couples treatment. Primary.populations included anxiety disorders, mood
                   disorders, and personality disorders. Other activities included preparation of an 8-week
                   psychoeducational seminar series on communication skills for couples, using the cognitive-
                   behavioral techniques of Gottman and Beck.

   1993-1994       SCHweE REHABILITATION CENTER
                   Psychometrician
                   Neuropsychological assessment of inpatient and outpatient adults with TBI and Epilepsy.

   1991-1994       SCHwAE REHASTLITETION CENTER
                   Therapist
                   Counseling TBI survivors with substance abuse issues, using Systematic Motivational
                   Counseling (SMC), brief neuropsychological and personality assessment.

   1   989-1 991   CHARI-ES RIVER HOSPITEL
                   Milieu Therapist
                   Assessnrent ofdaily psychological status and suicide risk ofincest and sexual abuse survivors,
                   and those with dissociative disturbances on an inpatient psychiatric unit. Frequent rotation to
                   adolescent and severely mentally   ill   adult inpatient units.

   I   987-1 988   MADISoN CONVELPSCENT CENTER, ALZHEIMER'S UNIT
                   l[ental Heal th l[/orker
                   Foundation and coleadership of an Alzheimer's family support group, recreational therapy.
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2004-Present    1) Sexually Violent Persons Dcttabase.
                 IRFG clinicians have contracted with Liberty Healthcare since the inception of the SVP
                 outpatient monitoring team. IRFG's Sexual Behavior Clinic conducts ongoing research on
                 predicting or/[corne (sexual reoffense and other transgressions prompting rehospitalizatiolt ot
                 ieincarcelation), involving all consenting examinees seen at our clinic and the Treatment
                 Detention Facility in Rushville, IL. Psychopathy, offense type, penile plethysmography,
                 polygraphy, psychological test results and treatment progress are just a few of the predictor
                 variables being quatttfied by this prospective int'estigatiott.

2002-Present     Malingering o.f Cognitive Impairment and Psychiatric Disorder'
                1)
                 The IRFG Neuropsychology Service conducts ongoing research on malingering of
                 cognitive impairment and psychiatric disorder, involving all consenting examinees
                  seen at our clinic. Pre-hire psychological screening applicants provide an excellent
                  control group, not only for purposes ofmatching by age, education, gender and race, but
                 because their motivation to perform well is high.

                2) Pttblic Sofnty Pre-Hire Psychological Screening Dataltase.
                   IRFG maintains an ongoing database of all pre-employment psychological test data for
                   consenting Law Enforcement and Firefighter/EMS applicants, and conducts follow-up
                   interviews with agencies to identify whether recommendations served the agency well.
                     We assess the differences in psychological testing profiles between those considered
                     acceptable and unacceptable emotionally, as well as those who go on to maintain stable
                     employment versus discipline or termination.

1   995-1 998   Assessment    o.f   Frontal Lobe Functiottirtg in Psychopathy.
                DISSERTATION, FINCH UNIVTRSNT. OF HEALTH SCIENCES/THE CHICAGO MTOICAI
                ScHOOI-/LEKE COUNTY CORRECIONAL CENTER
                Co-Chairs Margaret Primeau, Ph.D., ABPP, David Kosson, Ph.D.
                This investigation utilized an experimental, between-groups factorial design to assess the effects
                of monetary incentives on neuropsychological performance in psychopaths and controls.

r994-t997       Attentional and Emotiortal Fwtctioning in Psychopathy.
                FINCH UNIveRsITy oF HEALTH ScTpNcESITHE CHICAGO MPOiCAI SCUOOI/LEKE COUNTY
                CORRECIONAL CENTER
                David Kosson, Ph.D.
                Research assistantship on multiple investigations assessing multiple correlates of psychopathy,
                including affect recognition and performance on divided attention tasks.

t99s-1996       Improved Delayed Visual Reproduction Test Per"fonnance in Multiple Sclerosis Patiettts
                Receivirtg Interferon B- I b.
                UNIVERSITY OF CHICAGO MEDICAL CENTEN
                Neil Pliskin, Ph.D., ABPP
                Research assistantship and membership in the University of Chicago Multiple Sclerosis
                Neuropsychology Work Group; assessment of the neurologic, neuropsychologica-l, and
                psychological effects of Interferon-Beta on M'S. patients.

t994-r995       Caregiver and Patient Slress, Br.n'den, and Copfirg Followittg Strctke.
                REHABILITATION IN STITUTE OF CUICACO
                Rosemary King, Ph.D.
                This longitudinal investigation aimed to assess the physical and psychological burdens
                of stroke su1ivors, the psychological burdens of caregivers, and predictive utility of coping
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                styles in functional outcome.

1992-7994       Predicting Enrploymettt   iil Trawnatic Brairt Iniuty.
                MASTER,S THESIS, UNIVERSITY OF HEALTH SCIENCTS/TUE CHrcAGo Me             otcnl ScHoot-/
                SCHTVES REHABILITATION CCNTER
                Margaret Primeau, Ph.D., ABPP
                This investigation assessed predictors of return to work in severe TBI survivors, employing
                multivariate assessment of neurologic, neuropsychological, personality' alcoho1, and
                sociodemographic variables.

t99t-t994       Efficacy of Systentatic Motivational Counseling in TBI Stut,ivors with Comorbid Substance
                Abuse.
                SCHwAB RTHEEILITA.TION CENTER
                Miles Cox, Ph.D., Eric Klinger, Ph.I)., Vincent Miranti, Ph'D.
                This longitudinal investigation assessed the effects of Systematic Motivational Counseling
                techniques on neuropsychological, psychoiogical, and alcohol variables in severe TBI
                survivors with substance abuse issues.

1   988-1 990   Self-Discrepancy, Ego Developmettt, and Eating Disorders.
                UNIvpRSITY OF WISCONSIN, MADISON
                Timothy Strauman, Ph.D.
                Research assistantship on multiple investigations assessing ego development and
                consequences of self-discrepancies in women, depression, and eating disorders.

I   987-1 990   The Ret,ised Learned Helplessness Tlteory of Depressiot't.
                UNIVERSITY OF WISCONSJN, MAD]SON
                Lyn Abramson, Ph.D.
                Research assistantship on a longitudinal investigation assessing the role ofhopelessness as a
                proximal cause of depression (as part of the revised learned helplessness theory), specifically
                whether childhood physical, sexual, and psychological abuse predict depressogenic cognitive
                styles that increaie risk for depression.




Tn-a.rNrNc SuprRvrsoR

2OO2-PTesent ISAAC RAY FORENSIC GROUP, LLC
             Externship SuPervisor
             Training doctoral-level graduate students for one year in forensic neuropsychology and co-
             teaching a mental health and law course with S. Jan Brakel, J.D. (landmark cases series).

2007.2013       UNryTRSITY OF CHICAGO, PRITZTER SCHOOI- OF MEDICINE, INTERNSHIP TRAINING PROCREV
                hfiernship Sttpervisor, Department of Psychiany and Behavioral Netu"oscience
                Providing educational lectures to fellows, interns and externs, and training/supervising interns
                conducting individual psychotherapy at the university of chicago.

2001-2002       ISAAC RAY CENTER,INC.
                Ext e nt s h ip Supct'r'i sor'
                Training doctoral-levei graduate students for one year in forensic neuropsychology.
       Case: 1:12-cr-00872 Document #: 112 Filed: 03/24/14 Page 7 of 14 PageID #:533
                                                                                                  Page 7

IN\.ITED LECTI. RER

2OO2-Present UNIVERSITY     OF CUICECO, PRITZKER SCUOOI- OF MEDICINE
(annual)       INreRNsHtp & ExTERNSHIP TRAINING PRoGRAMS
               DTPERTH,TNT OF PSYCHIATRY AND BEHAVIORAL NEUROSCIENCE
               Forensic Series:
                Professional Issues : Ethics, Confi dentiality and Reporling Mandates.
                 Clinicians as Experts: Landmark Cases in Admissibility.
                Forensic Neuropsychology: Updates in Relevant Case Law and Supreme Court Decisions.
       t        Malingering of Cognitive Deficits and Psychiatric Disorder: Recent Findings and Updates.

2013           UNIVERSITY OF ILLINOIS, CHICAGO
               DEPARTM ENT OF PSYCH IATRY
               Malingering: History and Current Assessment Approaches

20t2           ABA    COMMISSION ON LAWYER ASSISTANCE PNOCTqUS
               Continuing Legal Education
               2012 National Conference for Lawyer Assistance Programs
               Identifying and Assisting Lawyers and Judges with Cognitive lmpairments.

20t2           UNIVERSITY OF ILLINOIS, CHICAGO
               DEpaRTVENT OF PSYCHIATRY
               Forensic Neuropsychology: History and Practice.

2012           DISABIL]TY MENECSUPNT EMPLOYERS COALIT]ON
               Mental and Behavioral Health: Addressing the Economic Burden to the Workplace.

2010           UNIVERSITY OF ILL]NOIS, CHICEGO
               (PsycHoLoGY AND LAw CouRSE, Pnorrsson EvAN HARRINGToN, PH.D.)
               Where Theory and Practice Meet: Applied Forensic Assessment.
               Co-Presented with Tracy Rogers, Ph.D., Isaac Ray Forensic Group.

2010           NoRTHWESTERN UNIVERSITY SCHOOL OF CONTINUINC STUOITS
               (psycHoLoGtceL Trsrnqc AND AssESSMeNT Counse, PRoFESSoR KATHLEEN NuGeNr, PH.D.)
               Forensic Assessment.

2010           NoRTHWESTERN UNIVERSITY COL]NSELING AND PSYCHOLOGICAL SERVICES
                Risk Assessment: School Shootings and Workplace Violence.

2009            LoYoLA UNIVERSITY MEDICAL CENTER, PSYCUTATRY GRAND ROLINDS
                Forensic Neuropsychology: History, Current Methods and Practice.

2009            GaILaCUEN BASSETT
                Managing the Challenging Patient in Workers Compensation Cases.

2009            DISABILITY MANACEMENT EMPLOYERS COALIT]ON
                Malingering in Workers Compensation and Disability Evaluations: History, Challenges and
                Current As sessment Approaches.

2009            Convel ConloRnlox
                Challenges of the Nonprogressing Patient in Workers Compensation Cases: Assessing the
                Potential Role of Malingering.

2009            RouNo LAKE BEACH BOARD OF POLICE COVNAISSIONERS
                Pre-Hire Psychological Screening and Fitness for Duty Examinations.
           Case: 1:12-cr-00872 Document #: 112 Filed: 03/24/14 Page 8 of 14 PageID #:534
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                                                                                    ASSISTENCT
    2008           ILLINOIS PROFESSIONALS HEALTH PROGRAM AND ILLINOiS CONSORTIUM OF
                   PROGRAM S FOR PROFESSIONALS
                   The Impaired Professional: Initiating Restoration through the Fitness for Duty Process.

    2007           SEDGWICK CI-EI Ir,l S MENECEU ENT SERVI CES/C HICACO TRAN SiT              AUII   ORI   TY
                   (Co-Presented v'ith Lisa Sworowski, Ph.D.)
                   posttraumatic Stress Disorder in Worker's Compensation Claims: Clinical and Administrative
                   Challenges.

    2001           NORTHERN ILLINOIS AIUENCE OF FIRE PNOTECION DISTRICTS (ANNUAI CONFERENCE)
                   pre-hire Psychological Screening: The Role of Psychologists in Hiring Decisions.

    2006,2007      DEPeUI UNtvpRStry (SrNrrNClXG LAw COURSE, PROFESSOR BRANoON FOx, J'D')
t                  The Contribution of Forensic Psychology to Sentencing Considerations'

    2006           NATIONWIDE INSURANCE COMPANY
                   Neuropsychological Assessment of Traumatic Brain injury in Workers Compensation
                   Evaluations: Research Findings and Clinical Practice.

    2006           EMPLOYER,S MUTUAL CASUAITY INSURANCE COVPENISS
                   Traumatic Brain Injury: Clinical Presentation, Research Findings and Assessment.

    2005           ILLINOIS PSYCHOLOGICAL ASSOCIATION 2OO5 CONVSNTION
                   Forensic Psychology: Clinical Practice.

    2005           DoMINICK,S RIST MNNAGEMENT SECTION
                   Traumatic Brain Injury: updates on Research Findings and outcome.

    2005           DISABILITY MANAGEMENT EMPLOYERS COALITION
                   Malingering in Workers Compensation and Disability Evaluations.

    2005           WoRKERS, COVPTNSEUON CLAIMS ASSOCIATION
                   Malingering in Workers Compensation Evaluations: Research Findings and Clinical Practice.

    2005           UNIVERSITY OF ILLINOIS, DEPARTMENT OF PSYCHIATRY
                   Psychiatry, Psychology and the Law.

                   ANNueIMITIGATIoN TRIININc SEMINAR, DEPAUIUNIVERSITY COIT-TCE                             OF LAW, CENTTR
    2005
                   FOR JUSTICE IN CAPITAL CESTS
                   Faculty Lecturer.
                   lntelligence and the Law; Mitigation, Psychopathy and Antisocial Personality Disorder.

    2005           DePeuI UTI.IVERSITY (MENTALHEeITu & CRIMINALLAW                  COURSS, PROT SSOR S.        JEI BNETEq J.D.)
                   Schizophrenia and the Insanity Defense'

    2004           NonTFreRN ILLINoIS Pot-tce ALeRtra SYSTEM (NIPAS)
                   Neurologic Conditions, Neuropsychology and Public Safety'
                   Four-hour training seminar with hostage negotiators from various Illinois and Federal
                       Emergency Response Teams.

     2001              COVVUNITY YOUTH NETWORK, LNTT COUNTY
                       (in coniunction tt:ith Babatunde Okulet'e, M.D. and S. Jan Brakel, J'D')
                       Sex Offenders: Evaluation, Treatment and the Law.
       Case: 1:12-cr-00872 Document #: 112 Filed: 03/24/14 Page 9 of 14 PageID #:535
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2004            Depeul UNivERSTTy     (MENTALHrelrs & Crvr- LAw CouRSE,         PRoFESSOR S. JAN   BrutGl,   J.D.)
                The Role of Neuropsychology in Civil Litigation.

2003            UNIVERSITY OF ILLINOIS, DEPARTMENT OF PSYCHIATRY
                Malingering and Neuropsychology.

2000-2002       ISAAC RAY CENTER, RUSH UNIVTRSITY MPOICEI SCHOOL FORENSIC PSYCHIATRY FEIIOWSUIP
                Psychopathy Training; Malingering; Neuropsychologicai Assessment.

2002,2003       ANNUAL DEATH     PrNelry    Sprr,trNeR oF THE Oprrce oF THE   Srare AppsLLatr DeneNoen (IL)
                Forensic Neuropsychology.

2003            UNIvERSITY OF ILLINOIS, NEUROPSYCHOLOGY SERVICP
                The Role of Neuropsychology in Criminal and Civil Litigation.

2001            UNrvrnsirv  oF CHICAGo Mgotcel- CENTER, Pruue.Rv       Cenr Gnoup
                Malingering in the Primary Care Setting.

2001            UNIVERSITY OF ILLINOIS, NEUROLOGY GRA.ND ROUNDS
                Malingering in the Neurology Setting.

2000            FrNCu UNIVERSITY OF HEALTH SCITNCTS/CHICAGO MEOICEI SCUOOI-
                Forensic Neuropsychology: Malingering in the assessment setting
                Provide lecture material and slide presentation to graduate students from a Doctoral
                Clinical Program enrolled in a neuropsychological assessment course.

INSTRUCTOR

2000-2002       ISAAC RAY CENTER, RUSH UNIVERS]TY MCOICEI SCHOOL FORENSIC PSYCHIATRY FELLOWSHIP
                Psychopathy Training; Malingering; Neuropsychological Assessment.

1   999-2000    FINcu UNIVERSITY OF HEALTH SCTPXCPS/CHICAGO MEOICEI SCHOOL &
2001            Rusu UNTvERSITY MEDICAL SCUOOI-
                Brain Lab Neuroanatorny Series.
                Coordinate and provide an eight hour neuroanatomy review to first through fourth year
                psychiatric residents, including function and clinical syndromes associated with the Cranial
                Nerves, Cerebral Vasculature, Cerebellum and Basal Ganglia'

t99B   & 1999   UNTvgRsITy oF CHICAGo, PzuTZKER SCHooL OF MEDICINE, DEPARTMENT OF PSYCUIATRY
                NEURoANAToMY, AouIT NTuRoPSYCHoLOGY SPECIALTY LECTURES, CASE CONT.PRCNCE
                The Cerebeilum; Spatial Disorders; Neuroanatomy Review; Multiple System Atrophy.
                Provide lecture materials and slide presentations to neuropsychology interns and externs.

1996            UNIVERSITY OF WISCONSIN, PARKSIDE
Fall, Spring    Introduction to Psychoiogy.

1995-t996       ALpxIaN BRorrrpRs-Lerr Coor PSYCHoLoGISTS AND COUNSTLING ASSOCIATES
                Communicating as Couples.
                Preparation of an B-week psychoeducational seminar series on communication skiils for
                couples, using the cognitive-behavioral techliques of Gottman and Beck.

r995            UNIVERSITY OF CHICAGO NEUROPSYCHOLOGY CASE CONFERENCE
                Differentiating Arosognosia versus Denial in Neuropsychiatric Populations.
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Turon
  1   989- 1 990    UNIVERSITY OF WISCONSIN, MAD]SON
                    Tutor (Statistics)

  1   989           UNtvpr.sltv oF PARls, SoReoNllE
                    hrtor (English)

EDITORIAL ACTIVITIES

  Ad Hoc Reviewer     for:    Joumal of the American Medical Association
                              Journal of the American Academy of Psychiatry and tlie Law
                              Aging, Neuropsychology, and Cognition
                              The Clinical Neuropsychologist
  Reviewer for:               Doody Publishing, Inc. (2000-2002)


PROFESSIONAL AFFILIATIONS

  American Psychological Association (APA)
  Clinical Neuropsychology (APA Division 40)
  lnternational Neuropsycholo gical S ociety (INS)
  National Academy of Neuropsychology (NAN)
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